    Case 21-03004-sgj Doc 57 Filed 07/29/21                    Entered 07/29/21 20:18:25           Page 1 of 14




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03004 (SGJ)
                                                                        )
HIGHLAND CAPITAL MANAGEMENT FUND                                        )
ADVISORS, L.P.,                                                         )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On July 26, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; via Overnight Mail upon the service list attached hereto as Exhibit C;
and via First Class Mail upon the service lists attached hereto as Exhibit D and Exhibit E:




                                           (Continued on Next Page)




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03004-sgj Doc 57 Filed 07/29/21         Entered 07/29/21 20:18:25   Page 2 of 14




   •   Plaintiff’s Notice of Service of a Subpoena to PricewaterhouseCoopers
       [Docket No. 56]


Dated: July 29, 2021
                                             /s/ Hannah Bussey
                                             Hannah Bussey
                                             KCC
                                             Meidinger Tower
                                             462 South 4th Street
                                             Louisville, KY 40202




                                            2
Case 21-03004-sgj Doc 57 Filed 07/29/21   Entered 07/29/21 20:18:25   Page 3 of 14



                              EXHIBIT A
           Case 21-03004-sgj Doc 57 Filed 07/29/21                                    Entered 07/29/21 20:18:25                      Page 4 of 14
                                                                              Exhibit A
                                                                        Core/2002 Service List
                                                                       Served via Electronic Mail



                Description                               CreditorName                       CreditorNoticeName                               Email
                                                                                                                             ctimmons@abernathy-law.com;
Counsel for Collin County Tax                   Abernathy, Roeder, Boyd & Hullett,   Chad Timmons, Larry R. Boyd, Emily      bankruptcy@abernathy-law.com;
Assessor/Collector                              P.C.                                 M. Hahn                                 ehahn@abernathy-law.com
Counsel for NexBank                             Alston & Bird LLP                    Jared Slade                             jared.slade@alston.com
Counsel for NexBank                             Alston & Bird LLP                    Jonathan T. Edwards                     jonathan.edwards@alston.com
                                                                                     William P. Bowden, Esq., Michael D.
Counsel to Jefferies LLC                        Ashby & Geddes, P.A.                 DeBaecke, Esq.                          mdebaecke@ashbygeddes.com
Counsel for Scott Ellington, Thomas Surgent,
Frank Waterhouse, and Issac Leventon (the
“Senior Employees”) and CPCM, LLC               Baker & McKenzie LLP                 Debra A. Dandeneau                      debra.dandeneau@bakermckenzie.com
Counsel for Scott Ellington, Thomas Surgent,
Frank Waterhouse, and Issac Leventon (the
“Senior Employees”) and CPCM, LLC               Baker & McKenzie LLP                 Michelle Hartmann                       michelle.hartmann@bakermckenzie.com
Counsel for NWCC, LLC                           Barnes & Thornburg LLP               Thomas G. Haskins, Jr.                  thomas.haskins@btlaw.com
Counsel to Acis Capital Management GP LLC
and Acis Capital Management, L.P.                                                                                            mintz@blankrome.com;
(collectively, “Acis”)                          Blank Rome LLP                       John E. Lucian, Josef W. Mintz          jbibiloni@blankrome.com
                                                Bonds Ellis Eppich Schafer Jones                                             john@bondsellis.com;
Counsel to James Dondero                        LLP                                  John Y. Bonds, III, Bryan C. Assink     bryan.assink@bondsellis.com
                                                Buchalter, A Professional
Counsel to Oracle America, Inc.                 Corporation                          Shawn M. Christianson, Esq.             schristianson@buchalter.com
Counsel for UBS Securities LLC and UBS AG,                                           Martin A. Sosland and Candice M.        martin.sosland@butlersnow.com;
London Branch                              Butler Snow LLP                           Carson                                  candice.carson@butlersnow.com
                                                                                     Candace C. Carlyon, Esq., Tracy M.      ccarlyon@carlyoncica.com;
Counsel to Integrated Financial Associates Inc. Carlyon Cica Chtd.                   Osteen, Esq.                            tosteen@carlyoncica.com
Counsel to the Intertrust Entities and the CLO Chipman, Brown, Cicero & Cole,
Entities                                        LLP                                  Mark L. Desgrosseilliers                desgross@chipmanbrown.com
                                                Condon Tobin Sladek Thornton
Counsel to Siepe LLC                            PLLC                                 J. Seth Moore                           smoore@ctstlaw.com
Counsel to Patrick Daugherty (“Mr.
Daugherty”)                                     Cross & Simon LLC                    Michael L. Vild, Esquire                mvild@crosslaw.com
Counsel for BH Equities, L.L.C.                 Dentons US LLP                       Casey Doherty                           Casey.doherty@dentons.com
Counsel to Jefferies LLC                        Dentons US LLP                       Lauren Macksoud, Esq.                   lauren.macksoud@dentons.com
Counsel to Jefferies LLC                        Dentons US LLP                       Patrick C. Maxcy, Esq.                  patrick.maxcy@dentons.com
Counsel to Acis Capital Management, LP and
Acis Capital Management GP, LLC                                                                                              jprostok@forsheyprostok.com;
("Creditors") and Joshua N. Terry and Jennifer                                       Jeff P. Prostok, J. Robert Forshey,     bforshey@forsheyprostok.com;
G. Terry                                        Forshey & Prostok LLP                Suzanne K. Rosen                        srosen@forsheyprostok.com
Secured Creditor                                Frontier State Bank                  Attn: Steve Elliot                      selliott@frontier-ok.com
Counsel to the Redeemer Committee of the
Highland Crusader Fund                          Frost Brown Todd LLC                 Mark A. Platt                           mplatt@fbtlaw.com
Counsel to Alvarez & Marsal CRF                                                      Marshall R. King, Esq., Michael A.      mking@gibsondunn.com;
Management LLC as Investment Manager of                                              Rosenthal, Esq. & Alan Moskowitz,       mrosenthal@gibsondunn.com;
the Highland Crusader Funds                     Gibson, Dunn & Crutcher LLP          Esq.                                    amoskowitz@gibsondunn.com
Counsel to Alvarez & Marsal CRF
Management LLC as Investment Manager of
the Highland Crusader Funds                     Gibson, Dunn & Crutcher LLP          Matthew G. Bouslog, Esq.                mbouslog@gibsondunn.com
                                                                                     Melissa S. Hayward, Zachery Z.          MHayward@HaywardFirm.com;
Counsel for the Debtor                          Hayward & Associates PLLC            Annable                                 ZAnnable@HaywardFirm.com
                                                                                                                             ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment Trust and                                         Douglas S. Draper, Leslie A. Collins,   lcollins@hellerdraper.com;
Get Good Trust                                  Heller, Draper & Horn, L.L.C.        Greta M. Brouphy                        gbrouphy@hellerdraper.com
Equity Holders                                  Hunter Mountain Investment Trust     c/o Rand Advisors LLC                   Jhonis@RandAdvisors.com
IRS                                             Internal Revenue Service             Attn Susanne Larson                     SBSE.Insolvency.Balt@irs.gov
IRS                                             Internal Revenue Service             Centralized Insolvency Operation        Mimi.M.Wong@irscounsel.treas.gov
Counsel to Crescent TC Investors, L.P.          Jackson Walker L.L.P.                Michael S. Held                         mheld@jw.com
Secured Creditor                                Jefferies LLC                        Director of Compliance                  cbianchi@jefferies.com
Secured Creditor                                Jefferies LLC                        Office of the General Counsel           cbianchi@jefferies.com
Counsel to the Redeemer Committee of the                                                                                     mhankin@jenner.com;
Highland Crusader Fund                          Jenner & Block LLP                   Marc B. Hankin, Richard Levin           rlevin@jenner.com
Counsel for CCS Medical, Inc.                   Jones Day                            Amanda Rush                             asrush@jonesday.com
Counsel to the Issuers (group of 25 separate                                                                                 jbain@joneswalker.com;
Cayman issuers of loan)                         Jones Walker LLP                     Joseph E. Bain, Amy K. Anderson         aanderson@joneswalker.com
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
et al                                           K&L Gates LLP                        Artoush Varshosaz                       artoush.varshosaz@klgates.com
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
et al                                           K&L Gates LLP                        James A. Wright III                     james.wright@klgates.com




Highland Capital Management, L.P.
Case No. 19-34054                                                             Page 1 of 3
            Case 21-03004-sgj Doc 57 Filed 07/29/21                                    Entered 07/29/21 20:18:25                     Page 5 of 14
                                                                              Exhibit A
                                                                        Core/2002 Service List
                                                                       Served via Electronic Mail



                 Description                              CreditorName                        CreditorNoticeName                             Email
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
et al                                           K&L Gates LLP                         Stephen G. Topetzes                    stephen.topetzes@klgates.com
Counsel to CLO Holdco, Ltd.                     Kane Russell Coleman Logan PC         John J. Kane                           jkane@krcl.com
Counsel for Highland CLO Funding Ltd.           King & Spalding LLP                   Paul R. Bessette                       pbessette@kslaw.com
Counsel to BET Investments II, L.P.             Kurtzman Steady, LLC                  Jeffrey Kurtzman, Esq.                 Kurtzman@kurtzmansteady.com
Counsel to UBS Securities LLC and UBS AG                                                                                     Andrew.Clubok@lw.com;
London Branch (“UBS”)                           Latham & Watkins LLP                  Andrew Clubok, Sarah Tomkowiak         Sarah.Tomkowiak@lw.com
Counsel to UBS Securities LLC and UBS AG                                                                                     asif.attarwala@lw.com;
London Branch (“UBS”)                           Latham & Watkins LLP                  Asif Attarwala, Kathryn K. George      Kathryn.George@lw.com
Counsel to UBS Securities LLC and UBS AG                                                                                     jeff.bjork@lw.com;
London Branch (“UBS”)                           Latham & Watkins LLP                  Jeffrey E. Bjork, Kimberly A. Posin    kim.posin@lw.com
Counsel to UBS Securities LLC and UBS AG
London Branch (“UBS”)                           Latham & Watkins LLP                  Zachary F. Proulx                      Zachary.Proulx@lw.com
Counsel to Coleman County TAD, Kaufman
County, Upshur County, Fannin CAD, Tarrant
County, Grayson County, Allen ISD, Dallas       Linebarger Goggan Blair &
County, Irving ISD, and Rockwall CAD            Sampson LLP                           Elizabeth Weller, Laurie A. Spindler   dallas.bankruptcy@publicans.com
                                                Loewinsohn Flegle Deary Simon
Counsel for Jack Yang and Brad Borud            LLP                                   Daniel P. Winikka                      danw@lfdslaw.com
Creditor                                        Lynn Pinker Cox & Hurst, L.L.P.       Michael K. Hurst, Esq.                 mhurst@lynnllp.com
Equity Holders                                  Mark K. Okada                                                                mokadadallas@gmail.com
Counsel to the Redeemer Committee of the        Morris, Nichols, Arsht & Tunnell                                             rdehney@mnat.com;
Highland Crusader Fund                          LLP                                   Curtis S. Miller, Kevin M. Coen        cmiller@mnat.com
                                                                                      Joseph T. Moldovan, Esq. & Sally
Counsel to Meta-e Discovery, LLC                Morrison Cohen LLP                    Siconolfi, Esq.                        bankruptcy@morrisoncohen.com
Bank                                            NexBank                               John Danilowicz                        john.holt@nexbankcapital.com
Counsel to California Public Employees’
Retirement System (“CalPERS”)                   Nixon Peabody LLP                     Louis J. Cisz, III, Esq.               lcisz@nixonpeabody.com
SEC Headquarters                                Office of General Counsel             Securities & Exchange Commission       SECBankruptcy-OGC-ADO@SEC.GOV

US Trustee for Northern District of TX          Office of the United States Trustee   Lisa L. Lambert, Esq                lisa.l.lambert@usdoj.gov
                                                                                                                          jmorris@pszjlaw.com;
Counsel for the Debtor                         Pachulski Stang Ziehl & Jones LLP John A. Morris and Gregory V. Demo gdemo@pszjlaw.com
                                                                                                                          rpachulski@pszjlaw.com;
                                                                                   Richard M. Pachulski, Jeffrey N.       jpomerantz@pszjlaw.com;
                                                                                   Pomerantz, Ira D. Kharasch, James E. ikharasch@pszjlaw.com;
Counsel for the Debtor                         Pachulski Stang Ziehl & Jones LLP O’Neill                                  joneill@pszjlaw.com
                                                                                                                          rpachulski@pszjlaw.com;
                                                                                   Richard M. Pachulski, Jeffrey N.       jpomerantz@pszjlaw.com;
                                                                                   Pomerantz, Ira D. Kharasch, James E. ikharasch@pszjlaw.com;
Counsel for the Debtor                         Pachulski Stang Ziehl & Jones LLP O’Neill                                  joneill@pszjlaw.com
Pension Benefit Guaranty Corporation           Pension Benefit Guaranty                                                   baird.michael@pbgc.gov;
(“PBGC”)                                       Corporation                         Michael I. Baird                       efile@pbgc.gov
Counsel to City of Garland, Garland ISD, Wylie Perdue, Brandon, Fielder, Collins &
ISD , Plano ISD                                Mott, L.L.P.                        Linda D. Reece                         lreece@pbfcm.com
                                                                                                                          jryan@potteranderson.com;
Delaware counsel to Alvarez & Marsal CRF                                           Jeremy W. Ryan, Esq., R. Stephen       rmcneill@potteranderson.com;
Management LLC                                 Potter Anderson & Corroon LLP       McNeill, Esq. & D. Ryan Slaugh, Esq. rslaugh@potteranderson.com
Secured Creditor                               Prime Brokerage Services            Jefferies LLC                          cbianchi@jefferies.com
Counsel to UBS Securities LLC and UBS AG                                                                                  merchant@rlf.com;
London Branch (“UBS”)                          Richards, Layton & Finger PA        Michael J. Merchant, Sarah E. Silveira silveira@rlf.com
Counsel to Hunter Mountain Trust               Rochelle McCullough, LLP            E. P. Keiffer                          pkeiffer@romclaw.com
Counsel for Scott Ellington, Thomas Surgent,                                                                              judith.ross@judithwross.com;
Frank Waterhouse, and Issac Leventon (the                                          Judith W. Ross, Frances A. Smith, Eric frances.smith@judithwross.com;
“Senior Employees”) and CPCM, LLC              Ross & Smith, PC                    Soderlund                              eric.soderlund@judithwross.com
Counsel to the Intertrust Entities and the
Issuers (group of 25 separate Cayman issuers                                                                              david.karp@srz.com;
of loan)                                       Schulte Roth & Zabel LLP            David J. Karp, James V. Williams III   jay.williams@srz.com
                                                                                                                          bankruptcynoticeschr@sec.gov;
SEC Regional Office                            Securities & Exchange Commission Richard Best, Regional Director           nyrobankruptcy@sec.gov
SEC Regional Office                            Securities & Exchange Commission Sharon Binger, Regional Director          philadelphia@sec.gov
                                                                                                                          mclemente@sidley.com;
Counsel to Official Committee of Unsecured                                         Matthew Clemente, Alyssa Russell,      alyssa.russell@sidley.com;
Creditors                                      Sidley Austin LLP                   Elliot A. Bromagen                     ebromagen@sidley.com
                                                                                                                          preid@sidley.com;
                                                                                   Penny P. Reid, Paige Holden            pmontgomery@sidley.com;
Counsel to Official Committee of Unsecured                                         Montgomery, Charles M. Person,         cpersons@sidley.com;
Creditors                                      Sidley Austin LLP                   Juliana Hoffman                        jhoffman@sidley.com
Counsel to Patrick Daugherty                   Spencer Fane LLP                    Jason P. Kathman                       jkathman@spencerfane.com




Highland Capital Management, L.P.
Case No. 19-34054                                                             Page 2 of 3
           Case 21-03004-sgj Doc 57 Filed 07/29/21                                 Entered 07/29/21 20:18:25                      Page 6 of 14
                                                                            Exhibit A
                                                                      Core/2002 Service List
                                                                     Served via Electronic Mail



                Description                             CreditorName                       CreditorNoticeName                             Email
                                                                                  Division of Corporations - Franchise
DE Secretary of State                         State of Delaware                   Tax                                    dosdoc_bankruptcy@state.de.us
Counsel to the Hunter Mountain Trust
(“Hunter”)                                    Sullivan Hazeltine Allinson LLC     William A. Hazeltine, Esq.             whazeltine@sha-llc.com
Equity Holders                                The Dugaboy Investment Trust                                               gscott@myersbigel.com
                                              The Mark and Pamela Okada
Equity Holders                                Family Trust - Exempt Trust #1                                             mokadadallas@gmail.com
                                              The Mark and Pamela Okada
Equity Holders                                Family Trust - Exempt Trust #2                                             mokadadallas@gmail.com
Counsel to the United States Internal Revenue U.S. Department of Justice, Tax
Service                                       Division                            David G. Adams                         david.g.adams@usdoj.gov
United States Attorney General                United States Attorney General      U.S. Department of Justice             askdoj@usdoj.gov
                                                                                                                         brant.martin@wickphillips.com;
Counsel for NexPoint Real Estate Partners,                                        Brant C. Martin, Jason M. Rudd,        jason.rudd@wickphillips.com;
LLC F/K/A HCRE Partners, LLC                  Wick Phillips Gould & Martin, LLP   Lauren K. Drawhorn                     lauren.drawhorn@wickphillips.com
Counsel to Acis Capital Management GP LLC                                                                                rpatel@winstead.com;
and Acis Capital Management, L.P.                                                                                        plamberson@winstead.com;
(collectively, “Acis”)                        Winstead PC                         Rakhee V. Patel, Phillip Lamberson     achiarello@winstead.com
Counsel for Jean Paul Sevilla and Hunter
Covitz (the “Employees”)                      Winston & Strawn LLP                Attn: David Neier                      dneier@winston.com
Counsel for Jean Paul Sevilla and Hunter
Covitz (the “Employees”)                      Winston & Strawn LLP                Attn: Katherine A. Preston             kpreston@winston.com
Counsel for Jean Paul Sevilla and Hunter                                          Attn: Thomas M. Melsheimer; Natalie    tmelsheimer@winston.com;
Covitz (the “Employees”)                      Winston & Strawn LLP                L. Arbaugh                             narbaugh@winston.com




Highland Capital Management, L.P.
Case No. 19-34054                                                           Page 3 of 3
Case 21-03004-sgj Doc 57 Filed 07/29/21   Entered 07/29/21 20:18:25   Page 7 of 14



                              EXHIBIT B
           Case 21-03004-sgj Doc 57 Filed 07/29/21                       Entered 07/29/21 20:18:25               Page 8 of 14
                                                                  Exhibit B
                                                            Adversary Service List
                                                           Served via Electronic Mail


               Description                        CreditorName              CreditorNoticeName                        Email
  Financial Advisor to Official Committee                              Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
  of Unsecured Creditors                  FTI Consulting               O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                       Melissa S. Hayward, Zachery   MHayward@HaywardFirm.com;
  Counsel for the Debtor               Hayward & Associates PLLC       Z. Annable                    ZAnnable@HaywardFirm.com
  Counsel for UBS Securities LLC and                                   Andrew Clubok, Sarah          andrew.clubok@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP            Tomkowiak                     sarah.tomkowiak@lw.com
  Counsel for UBS Securities LLC and                                   Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP            George                        Kathryn.George@lw.com
  Counsel for UBS Securities LLC and                                   Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP            Posin                         kim.posin@lw.com
  Counsel for UBS Securities LLC and                                                                 Zachary.Proulx@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP            Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint                                     Davor Rukavina, Esq., Julian  drukavina@munsch.com;
  Capital Inc.                         Munsch Hardt Kopf & Harr, P.C. P. Vasek, Esq.                jvasek@munsch.com
                                                                                                    mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
  Counsel for Official Committee of                                    Russell, Elliot A. Bromagen, ebromagen@sidley.com;
  Unsecured Creditors                  Sidley Austin LLP               Dennis M. Twomey             dtwomey@sidley.com
                                                                                                    preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden pmontgomery@sidley.com;
  Counsel for Official Committee of                                    Montgomery, Juliana Hoffman, jhoffman@sidley.com;
  Unsecured Creditors                  Sidley Austin LLP               Chandler M. Rognes           crognes@sidley.com




Highland Capital Management, L.P.
Case No. 19-34054                                                 Page 1 of 1
Case 21-03004-sgj Doc 57 Filed 07/29/21   Entered 07/29/21 20:18:25   Page 9 of 14



                              EXHIBIT C
                          Case 21-03004-sgj Doc 57 Filed 07/29/21         Entered 07/29/21 20:18:25     Page 10 of 14
                                                                    Exhibit C
                                                                  Affected Party
                                                             Served via Overnight Mail

                           CreditorName          CreditorNoticeName           Address1      Address2     City   State    Zip
                                              c/o John Wander, Vinson
                     PricewaterhouseCoopers   Elkins LLP                2001 Ross Avenue   Suite 3900   Dallas TX       75201




Highland Capital Management, L.P.
Case No. 19-34054                                                  Page 1 of 1
Case 21-03004-sgj Doc 57 Filed 07/29/21   Entered 07/29/21 20:18:25   Page 11 of 14



                              EXHIBIT D
                                     Case 21-03004-sgj Doc 57 Filed 07/29/21                           Entered 07/29/21 20:18:25                     Page 12 of 14
                                                                                                Exhibit D
                                                                                         Core/2002 Service List
                                                                                        Served via First Class Mail


             Description                        CreditorName                CreditorNoticeName                   Address1                 Address2         Address3       City     State      Zip
                                                                                                         8080 North Central
  Bank                                 BBVA                             Michael Doran                    Expressway                  Suite 1500                       Dallas       TX      75206
                                       Cole, Schotz, Meisel, Forman &                                    301 Commerce Street,
  Creditor                             Leonard, P.A.                                                     Suite 1700                                                   Fort Worth   TX      76102
                                                                        Centralized Insolvency
  IRS                                  Internal Revenue Service         Operation                        PO Box 7346                                                  Philadelphia PA      19101-7346
                                                                                                         225 Franklin Street, 18th
  Secured Creditor                     KeyBank National Association     as Administrative Agent          Floor                                                        Boston       MA      02110
  Secured Creditor                     KeyBank National Association     as Agent                         127 Public Square                                            Cleveland    OH      44114
  Texas Attorney General               Office of the Attorney General   Ken Paxton                       300 W. 15th Street                                           Austin       TX      78701
  Attorney General of the United                                                                         Main Justice Building,      10th & Constitution
  States                               Office of the Attorney General                                    Room 5111                   Avenue, N.W.                     Washington DC        20530
  US Attorneys Office for Northern     Office of the United States                                       1100 Commerce Street,
  District of TX                       Attorney                         Erin Nealy Cox, Esq              3rd Floor                                                    Dallas       TX      75202
                                       State Comptroller of Public      Revenue Accounting Division-
  TX Comptroller of Public Accounts    Accounts                         Bankruptcy Section              PO Box 13258                                                  Austin       TX      78711
  Equity Holders                       Strand Advisors, Inc.                                            300 Crescent Court           Suite 700                        Dallas       TX      75201
  TX AG Office                         Texas Attorney Generals Office   Bankruptcy-Collections Division PO Box 12548                                                  Austin       TX      78711-2548
                                                                                                        1500 Pennsylvania
  U.S. Department of the Treasury      US Department of the Treasury    Office of General Counsel       Avenue, NW                                                     Washington DC       20220
                                                                                                        Delaware Division of         Carvel State Office 820 N. French
  Delaware Division of Revenue         Zillah A. Frampton               Bankruptcy Administrator        Revenue                      Building, 8th Floor Street        Wilmington DE       19801




Highland Capital Management, L.P.
Case No. 19-34054                                                                                Page 1 of 1
Case 21-03004-sgj Doc 57 Filed 07/29/21   Entered 07/29/21 20:18:25   Page 13 of 14



                              EXHIBIT E
                             Case 21-03004-sgj Doc 57 Filed 07/29/21              Entered 07/29/21 20:18:25            Page 14 of 14
                                                                           Exhibit E
                                                                     Adversary Service List
                                                                   Served via First Class Mail


               Description                  CreditorName           CreditorNoticeName               Address1              Address2       City      State    Zip
  Counsel for UBS Securities LLC and                          Andrew Clubok, Sarah          555 Eleventh Street, NW,
  UBS AG London Branch                 Latham & Watkins LLP   Tomkowiak                     Suite 1000                               Washington    DC      20004
  Counsel for UBS Securities LLC and                          Asif Attarwala, Kathryn K.    330 North Wabash
  UBS AG London Branch                 Latham & Watkins LLP   George                        Avenue, Ste. 2800                        Chicago       IL      60611
  Counsel for UBS Securities LLC and                          Jeffrey E. Bjork, Kimberly A. 355 S. Grand Ave., Ste.
  UBS AG London Branch                 Latham & Watkins LLP   Posin                         100                                      Los Angeles   CA      90071
  Counsel for UBS Securities LLC and                                                        1271 Avenue of the
  UBS AG London Branch                 Latham & Watkins LLP   Zachary F. Proulx, Jamie Wine Americas                                 New York      NY      10020
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint      Munsch Hardt Kopf &    Davor Rukavina, Esq., Julian                              500 N. Akard
  Capital Inc.                         Harr, P.C.             P. Vasek, Esq.                     3800 Ross Tower        Street       Dallas        TX      75202




Highland Capital Management, L.P.
Case No. 19-34054                                                          Page 1 of 1
